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      ARNESHA ALLEN; BERNADETTE HENLEY;
7     JUDY THOMAS
8

9                         UNITED STATES DISTRICT COURT
10                       CENTRAL DISTRICT OF CALIFORNIA
11

12    SUSAN SCHOFIELD, an individual,       ) Case No.: 2:22-CV-04332-JGB (AS)
                                            )
13                                          ) CASE MANAGEMENT REPORT BY
                 Plaintiffs,                )
14         vs.                              ) DEFENDANT JUDY THOMAS
                                            )
15    COUNTY OF LOS ANGELES, et al.         )
                                            )
16                                          )
                 Defendants.
                                            )
17                                          )
                                            )
18                                          )
                                            )
19

20

21         COMES NOW, Defendant, JUDY THOMAS, and submits the following
22
      case management report.
23
        A. DESCRIPTION OF FACTUAL AND LEGAL ISSUES.
24

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                                   Case Management Report

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1           Plaintiff Susan Schofield is the sole plaintiff in this case alleging Civil
2
      Rights Violations (42 USC §1983 & Monell), Civil Code §52.1 and Declaratory
3
      Relief, arising out of a suspected child abuse investigation resulting in the filing of
4

5     a dependency action and the removal of plaintiff's minor children J.S. and B.S.
6
      Plaintiff alleges the children were removed on March 8, 2019, and alleges they
7
      have "serious, complex and confounding mental developmental and behavioral
8

9
      problems" in her complaint. The dependency case is ongoing. Plaintiff alleges

10    she filed a Government Tort Claim but the County has no record of it. Plaintiff
11
      seeks general and special damages, punitive damages, "corrective action", and
12
      injunctive relief.
13

14          The legal issues pertain to the propriety of the removal of plaintiff’s children

15    and whether the County defendants violated plaintiff’s civil rights and were
16
      deliberately indifferent. Plaintiff also has a Monell in which she must prove that
17
      the County’s policies and procedures were the driving force behind any alleged
18

19    constitutional violations. The County defendants have filed an Answer asserting

20    denials of the allegations as well as qualified immunity on behalf of the
21
      individually named defendants. After Ms. Thomas was served, an Answer was
22
      filed on her behalf. There is also the question of whether this Honorable Court
23

24    should abstain while the dependency action is pending.
25


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1        B. DISCOVERY PLAN
2
                The parties have filed a WIC 827 petition with the Juvenile Court to obtain
3
      key juvenile court / DCFS records. A Petition under Welfare & Institutions Code
4

5     Section 287 is needed for access / use of dependency court & DCFS records in this
6
      lawsuit.
7
                As noted in the County Defendants’ Case Management Report, County
8

9
      Defendants have filed with the Juvenile Court, a Petition for Disclosure pursuant to

10    California Welfare & Institutions Code, Section 827, to obtain and utilize the
11
      Department of Children & Family Services (DCFS) records regarding the subject
12
      child abuse investigations and dependency case files, out of which this lawsuit
13

14    arises.

15              The Juvenile Court is the gatekeeper for the protection and utilization of
16
      juvenile case file materials outside of the dependency court system, including files
17
      of the DCFS. Until the Juvenile Court releases these documents, the parties are
18

19    limited in terms of discovery, because most, if not all, of the issues in this lawsuit

20    pertain to the actions of the DCFS and the allegations of misconduct against the
21
      social workers while conducting their dependency investigations.
22
                This petition is still pending.
23

24              Upon receipt of the order from the dependency court and the release of these
25
      documents, the defense will prepare a protective order to limit use of the

                                            Case Management Report

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1     documents within the confines of this lawsuit. Afterwards, both sides may
2
      exchange documents, and conduct written and oral discovery in this regard. The
3
      petition process is estimated to take approximately six months from the time of the
4

5     filing of the petition.
6
             Due to the need for the petition process to be completed, the parties cannot
7
      begin discovery in earnest until the order and records are obtained from the
8
      juvenile court.
9
             Once discovery commences, the County Defendants will depose the plaintiff
10
      and all necessary witnesses, and seek pertinent school and medical records of the
11
      children, and any other records identified by plaintiff in response to written
12
      discovery.
13
             Defendants have provided the plaintiff with the last known address of social
14
      worker Judy Thomas. The defense has endeavored to locate Ms. Thomas as well.
15
      If the defense locates her, we will request she allow us to accept service on her
16
      behalf. We have communicated this to the plaintiff.
17
         C. ANTICIPATED MOTIONS.
18

19           The County defendants, including Ms. Thomas, anticipate making a motion

20    for summary judgment based on the merits as well as qualified immunity on behalf

21    of the County and all employees sued in this matter.

22       D. ANTICIPATED WITNESSES

23           Anticipated witnesses include all parties to this action, as well as Mrs.

24    Schofield’s ex husband and current husband, her children, treating clinicians and

25    physicians, and other witnesses to be identified in discovery.
         E. TRIAL ESTIMATE
                                        Case Management Report

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1           County Defendants, including Ms. Thomas, anticipate a lengthy trial if they
2     are unsuccessful in their motion for summary judgment, simply due to the number
3     of defendants named in the matter and the complexities of the dependency case.
4     Currently we estimate this to be 10 to 14 days.
5        F. SETTLEMENT POTENTIAL
6           This is unknown at present. Defendants believe they will prevail in a
7     summary judgment motion. However, any demands for settlement made by
8     plaintiff will be communicated to the County.
9        G. OTHER INFORMATION.
10          As noted herein, the underlying dependency court records are statutorily
11    protected from disclosure and the parties must petition the dependency court for
12    said records, in order to have them released for use in this case. That process can
13    take approximately six months.
14    DATED: May 18, 2023                     MONROY, AVERBUCK & GYSLER
15

16                                            _Jennifer E. Gysler_________.
17
                                              JON F. MONROY
                                              JENNIFER E. GYSLER
18                                            Attorneys for County Defendants
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1                                      PROOF OF SERVICE
2
                  STATE OF CALIFORNIA – COUNTY OF LOS ANGELES
                                            CCP 1013(A)
3                 I am employed in the County of Los Angeles, State of California. I
            am over the age of 18 years and not a party to the within action; my business
4
            address is 200 Lindero Canyon Road, Suite 204, Westlake Village, CA
5           91362.
                  On May 18, 2023, I caused to be served the foregoing document
6
            described as on the interested parties in this action as follows:
7           CASE MANAGEMENT REPORT BY DEF JUDY THOMAS
                  [ ] By telecopier: By transmitting an accurate copy via telecopy to
8           the person and telephone number as follows:
9
                  [ x] by placing [ ] the original [ ] a true copy thereof enclosed in
      sealed envelopes addressed as follows:
10          Susan Schofield
            25001 Magic Mountain Pkwy, #620
11
            Valencia, CA 91355
12
            Nemecek & Cole per ECF System
13          [X] per ECF System
14          [ X ] BY MAIL:
            [ ] I deposited such envelope in the mail at Westlake Village, California.
15          The envelope was mailed with postage thereon fully prepaid.
16
            [ X ] As follows: I am “readily familiar” with the firm’s practice of
            collection and processing correspondence for mailing. Under the practice it
17          would be deposited with U.S. Postal Service on that same day with postage
            thereon fully prepaid at Westlake Village, California in the ordinary course
18
            of business. I am aware that on motion of the party served, service is
19          presumed invalid if postal cancellation date or postage meter date is more
            than one day after date of deposit for mailing in affidavit.
20           [ ] BY PERSONAL SERVICE: I caused such envelope to be delivered
21
            by hand, to addressee or offices of addressee.
            [X] (STATE) I declare under penalty of perjury under the laws of the
22          State of California that the above is true and correct.
            []     (FEDERAL)           I declare that I am employed in the office of a
23
            member of the bar of this Court at whose direction the service was made.
24                 Executed on May 18, 2023, at Westlake Village, California.
25
                  Jennifer Gysler            Jennifer Gysler___________.

                                      Case Management Report

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